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~ ELSEVIER                                                                                                   Academic & Government           Health   Industry   Insights   About   Suppon
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Home )            Reviewer )              The role of a reviewer




                                                               The role of a reviewer


                 The role of o reviewer                      What do reviewers do?                 Volunteer to review              Recognizing reviewers            Feedback program        Tools and resources




                                                               Reviewers are vital to a high quality manuscript evaluation
                                                               process, and serve on indispensable role in !)reserving the
                                                               integrity of the scientific record. Effective reviewing
                                                               requires the investment of time and a certain skill set.
                                                               Before you decide to accept a request to review, we
                                                               recommend that you become familiar with the peer review
                                                               process and how to conduct a review. You can a lso check
                                                               out some of the free e-learning modules, tools and
                                                               resources on Elsevier Researcher Academy ;,, .


                                                               At Elsevier, we strive ta minimize bias and to achieve a
                                                               more equitable and impactful peer review process. Crucial
                                                               to this effort is consulting a diverse community of
                                                               reviewers. Yau can read more about efforts to advance
                                                               divers ity, equity and inclusion {DEi) here.




                                                               What do reviewers do?
                                                               Reviewers evaluate article submissions to journals and
                                                               advise editors as to the articles' suitability for publication.
                                                               This combines thorough technical review of the quality,
                                                               completeness and accuracy of the research p resented, with
                                                               a broader perspective on the potential interest the results
                                                               may or may not hold for the journal's readership,
                                                               depending on the journal's criteria far publication.


                                                               Good reviewers collaborate with authors to improve their
                                                               work. They provide feedback on the paper, suggest
                                                               improvements, and make a recommendation to the editor
                                                               about whether to accept, reject or request changes to the
                                                               article. The ultimate decision a lways rests with the editor,
                                                               but reviewers play a significant role in determining the
                                                               outcome. Find out more about the process and what is
                                                               involved here.


                                                               Reviewing is a t ime-intensive process, but it is worthwhile
                                                               for the reviewer a s well as for the community. Reviewers:

                                                                   • enforce the rigorous standards of the scientific process
                                                                     by toking port in the peer-review system.
                                                                   • uphold the integrity of the scientific record by
                                                                     identifying invalid research, and helping to maintain the
                                                                     quality of the academic literature.
                                                                   • fulfil o sense of obligation to the community and their
                                                                     own area of research.
                                                                   • establish rela t ionships with reputable colleagues, and
                                                                     nnr-tirinntJ:lo in th~ nlnhnl c::nrinl nj!!ltwnrlt nfth'3-ir fij!!lln
 • build a reputation with editors and t heir affiliated
   journals, with the potential to serve as editors.
 • can help prevent ethical breaches by identifying
   potential plagiar ism, research misconduct, end other
   problems through their familiarity with the subject oreo.
 • reciprocate professional courtesy, as authors and
    reviewers ore often interchangeable ro les - as
   reviewers, researchers retur n the some consideration
   they receive as authors.




Vo luntee r to review
Typically, reviewers ore invited to conduct a review by a
journal editor. Editors usually select researchers that ore
experts in the some subject area as the paper. However, if
you think you would be a good referee for a specific journal
you con volunteer to review on our Rev iewer Hub :>1 or by
contacting the journal office directly. On the "Volunteer to
review :>1 " section of the Reviewer Hub, you con search for
the journol(s) of your choosing and click on "Review for
journal" to indicate your interest. Please note that you
should first complete your reviewer profile.


Other w ays t o volu nteer t o
review
 l. Keep on eye on the journal homepage of your choice for
    a "volunteer to review" section.
 2. Alterna t ively, visit the journal homepage and "view full
    editorial board", t hen contact any relevant editors by
    email to offer your reviewing services.
 3. Please be aware that the choice of whether or not to
    choose a particular referee for a paper is entirely at the
    discretion of the editor and Elsevier ploys no port in this
    decision.


  log In to your personal Reviewer Hub account




Recogn izing reviewers

Elsevier acknowledges reviewers' invaluable contribution to the progress of science.
Elsevier's reviewer recogn ition program aims to engage reviewers and reword them for
t he work they do. The program features several projects and experiments as detailed
below.


Public acknowledgement of reviewers
Many Elsevier journals publish t he names of their reviewers in on editorial each year, and
may note particularly outstanding reviewers , as con be seen in th is example :>1 .


Review cert ificates via Reviewer Hu b
The time, energy and expertise that referees contribute to validating the work of their
peers is vital to the advancement of the academic community. Elsevier's Reviewer Hub
provides reviewers wit h a means of showcasing their efforts and receiving credit for their
work.

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history ond review certificotes.


Complementary access to Elsevier products
To thank our reviewers and help facilitate effective peer review, we offer 30 days of
complimentory occess to Scopus, ScienceDirect, and Reoxys for every review invitation
accepted.


Discounts on Elsevier services
We offer reviewers discounts for several Elsevier services, including Elsevier's WebShop ;,, ,
which offers professional English language edit ing and t ranslation services for researchers
preparing t heir articles, and the Elsevier Book Store ;,, . These can be redeemed via
Reviewer Hub.


Access the Elsevier Reviewer Hub ;,,


Peer review reports as articles
Between 2014-2017, the publication of peer review reports pilot ;,, publicly recognized
reviewers' Intellectual contribution to accepted articles through the formal publication of
their reports. Review reports for five participating journals were attributed a separate DOI
and published next to the accepted paper on ScienceDirect.

As described in the full report ;,, , this initiative d id not appear t o have any significant
negative effects on the review process. Reviewers appeared to value the veil of anonymity,
with only 8.1% opting to reveal their identities. Furthermore some reviewers provided
reports that were less negative and less subjective.




Reviewer feed back
program
We regularly survey reviewers to get a better
understanding of their needs and how we"re doing when it
comes to meeting them. Findings from the reviewer
feedback program help us to improve the reviewing
experience. For example, 90% of reviewers said they would
like to be able to see the final decision and other reviewers'
comments on a paper, so we added th is func.tionality to the
electronic submission system.


The reviewer feedback program monitors Elsevier's
performance from the perspective of reviewers on Elsevier
journals. We'll ask you about various aspects of the
reviewing system and other aspects of reviewing via on
online s urvey. Areas of interaction and support are
measured end reported regularly. Elsevier's performance is
benchmarked against that of other publishers.


If you hove been asked ta complete our reviewer feedback
program online survey, we recommend you complete it to
make sure your voice is heard.




Tools and resources
Elsevier Researcher Academy
modules
• How to become a reviewer and what do editors
  expect? ;,,
• How reviewers become editors ;,,



Reviewers' Update articles
• The case for (more) diversity in peer review
• Our reviewer volunteer journey



Articles concerning peer review
on ScienceDirect
• Reviewing scientific manuscripts: A comprehensive
  guide for peer reviewers ;,,
• How to review journal manuscripts: A lesson learnt from
  the world's excellent reviewers ;,,
• Errors in science: the role of reviewers ;,,
• How to review a manuscript "
• ' Peer review' for scientific manuscripts: Emerging issues,
  potential threots, and possible remedies ;,,
• Peer Review: Past, present and future ;,,


Diversity, equity and inclusion
in peer review
• A guide for reviewers
• Reviewer Academy inclusion and diversity modu les ;,,
